Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 1 of 21 PageID 986




                         Exhibit B
Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 2 of 21 PageID 987
                                                                                  1


   1                    IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
   2                        JACKSONVILLE DIVISION

   3                                CASE NO. 3:21-CV-00448

   4
          THE OKAVAGE GROUP, LLC,
   5      on behalf of itself and
          all others similarly
   6      situated,

   7                 Plaintiff,

   8           v.

   9      UWM HOLDINGS CORPORATION and
          MAT ISHBIA, individually,
  10
                    Defendants.
  11                                           /

  12

  13

  14                  TRANSCRIPTION OF FACEBOOK LIVE VIDEO

  15                                March 4, 2021

  16

  17
                Transcribed by Mary Ann Collier, a Court
  18      Reporter and Notary Public for the State of Florida.

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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 3 of 21 PageID 988
                                                                                  2


   1                   Hi there.    I'm Mat Ishbia, president and CEO

   2           of UWM.     Welcome to Facebook Live.           Thanks for

   3           being here with us.         We're so excited to have you

   4           join.     We've got some big announcements.

   5                   I've got a couple of big things I'm excited

   6           to tell you about, state of the industry, a new

   7           jumbo loan and even more.           But before I wanted to

   8           just say thank you.         Proud to be part of the

   9           family, the broker family.           I'm all in with you

  10           guys; you're all in with us.            I'm proud to be

  11           part of it and excited about our future together

  12           as a team, as a family.

  13                   Now, as you guys know, I'm out there as much

  14           as possible, broker family.           Faster, easier,

  15           cheaper.     We're all in for mortgage brokers,

  16           helping independent mortgage companies succeed,

  17           whether it's the national press or on national

  18           television, or, you know, I'm always put out,

  19           findamortgagebroker.com, help the brokers win,

  20           brokers are best for consumers, brokers are best

  21           for realtors.       Super Bowl commercial.          We did

  22           that.     Helped you grow.       We're all in.       There's

  23           no other way to say it.          You know, educating

  24           realtors and consumers.          We're helping them

  25           realize that you're the best place to go, the


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                                                                                  3


   1           independent mortgage companies, the mortgage

   2           brokers.

   3                  And so our goal, my goal, 33 percent mortgage

   4           broker market share by 2025.            Right now it's

   5           anywhere between 17 and 22 percent, depending on

   6           what numbers you look at.           But brokers are

   7           growing and we're gonna to grow together as a

   8           family.

   9                  You guys have a huge advantage over retail,

  10           because you have options.           You have options of

  11           different lender's, return times, pricing, and

  12           you're always going to have options.              There's 75

  13           amazing wholesale lenders out there, 75 amazing

  14           wholesalers doing.         There may be more in the

  15           future.

  16                  Options are key.       You have an advantage,

  17           because it's faster, it's easier and it's

  18           cheaper.     Technology investment.          And what we're

  19           trying to do as brokers, and you guys know this,

  20           is help you dominate, help make you invincible.

  21           Give you access to marketing, give you access to

  22           technology, so you can compete with the biggest

  23           lenders in America.

  24                  We're here to help support you so you can

  25           continue to win.        Because we already know you're


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                                                                                  4


   1           cheaper, you have a better price, because you're

   2           in wholesale.       How to make it faster and easier,

   3           and that' what we're going to continue to invest

   4           in.

   5                   I've got some big technology rollouts coming

   6           soon.     But we're not going to talk about that

   7           stuff today.       I have three big things I want to

   8           talk about today with you guys.             First thing is

   9           this.     Prime jumbo.      The UWM prime jumbo is back.

  10           We're pivoted to a simplified, easy, one-stop

  11           product, where you can run it though DU, and,

  12           boom, just like high balance nationwide, you're

  13           good to go.      Run it through DU.         There's a couple

  14           overlays, but a lot less, because Appendix Q,

  15           right, that's going away where you don't have to

  16           follow this.       So we have less overlays than those

  17           high balance nationwide and jumbo bank buster.

  18                   But now you have one program called the Prime

  19           Jumbo with amazing pricing.           Right?     Two million

  20           dollar loan amounts, up to an 89.99 LTV on

  21           purchases and rate and terms, and probably over

  22           80 on cash out.        We're trying to get that just so

  23           that the last little piece will work out.

  24                   This has come alive March 17th.           One product,

  25           run through DU, simplified, great pricing, 45


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                                                                                  5


   1           ETI, 89.99 LTV.        Brokers, we're going to win.

   2           We're going to help those jumbo borrowers,

   3           because pre-COVID, we were great on jumbo and you

   4           were great on jumbo.         We kind of backed off on it

   5           during COVID.       Now it's back.       Now we have the

   6           full suite of products, again, at UWM, from FHA,

   7           to the VA, to the conventional.             Of course, as

   8           guys know it now, prime jumbo is back in about

   9           two weeks, March 17th.          So be on the lookout.

  10           We're real excited about that opportunity.

  11                  Now, speaking about products, Conquest, one

  12           of the best products in America.             Consistently

  13           has been great.        Help brokers close loans fast.

  14           Help you win retail loans.           It's been great.

  15           It's had its time and place.            It's been

  16           successful, very successful.            But now we're going

  17           to pivot.      We're going to pivot here at UWM.

  18           We're all going to pivot together.

  19                  Conquest will still be out there, but our

  20           regular programs, our elite programs, our

  21           non-elite programs, our regular conventional,

  22           FHA, VA, all those programs, those are going to

  23           be the focus, simplifying the rate sheet, making

  24           our rate policies, our rate sheet policies

  25           better, to use it the way we always had it.


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                                                                                  6


   1           That's back.

   2                  And on top of it, the pricing's substantially

   3           sharper across the board.           IPO 61 is over.       The

   4           61 base points is now in the rate sheet.                All

   5           right?     IPO 61 is over.       Sixty-one base points in

   6           this rate sheet, like I just said, self-employed

   7           now that matters.        Three properties, you're good.

   8           Right?     There's no more complexities.

   9                  It's simple.      Use our regular pricing, elite

  10           and non-elite, you're good to go with UWM, 61

  11           base points in the pricing.           Lock plus 12 is now

  12           in there, too.       You can lock on 30, 45, 60 day

  13           locks.     Whatever you want.        There's higher rate

  14           ranges, so if you want to have a little more

  15           premium on there, it's out there.

  16                  Also, I'm throwing in more pricing, another

  17           40 to 50 base points on top of the 61.               We are

  18           going to be, if you look at the pricing that's

  19           going to come out, so we're probably the best

  20           price with everyone else chasing us, which is

  21           great, I'm fine with that.           We're not going to

  22           try to be the best price.           We are going to try to

  23           be very consistent.

  24                  You know, the 61 base points is in.             Another

  25           40 to 50 on top of that, we are going to grow


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 8 of 21 PageID 993
                                                                                  7


   1           together.      2.99, 2.875, those are real rates

   2           right now.      The refi boom didn't go anywhere.

   3           It's still here.        Take advantage with UWM.

   4           Purchases have been off the charts right now.

   5           We're blowing up our purchases.             Now you can use

   6           them on all your loans with UWM.

   7                  You want investment properties, right?              You

   8           couldn't do that on Conquest.            Now you're good.

   9           Investment price.        There's no 18 month

  10           requirement anymore.         That's done.       That was

  11           Conquest.

  12                  You can do all your loans with UWM,

  13           investment properties, cash outs, you know,

  14           higher rate ranges, lower ranges, whatever you

  15           need, self-employed, you don't need a 760 FICO, a

  16           740 FICO.      Self-employed, you're good to go.

  17                  Our high balance pricing's really sharp.                 Our

  18           15 year pricing is really sharp.             We're going to

  19           knock these loans out extremely fast.               It's what

  20           it's for.      Guess what?      We're closing these loans

  21           this month, every one of these loans.               Bring them

  22           on in.     Let's dominate.       Let's finish the quarter

  23           strong.     Let's continue to grow as a team.              We

  24           went public.       We talked about that.         We had

  25           access to resources.         It's time to turn it on.


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 9 of 21 PageID 994
                                                                                  8


   1           It's game on for all of us.

   2                  Now, like I say, we're going to be consistent

   3           on pricing across the board.            Our competitors are

   4           going to follow us, so even the brokers that

   5           don't use UWM, they got a big boost, because all

   6           the other brokers, all of the lenders, excuse me,

   7           will follow our pricing.           So if you look at

   8           pricing yesterday and look at it tomorrow, watch

   9           the difference and watch how everyone else is

  10           just sharpening.        Keep up with UWM, so we're

  11           helping the whole broker channel.

  12                  Why would we do that?         Because we're

  13           separating retail from wholesale.             Enough of this

  14           talk that retail is close to competing with us.

  15           It's over.      It was a moment in time.          The market

  16           was crazy.      Margins were different.          That's a

  17           moment in time.

  18                  Brokers are dominating.          We're taking over

  19           the market.      There's no stopping brokers.            We're

  20           going to win together as a family.              I'm all in,

  21           you're all in, we're all in together.

  22                  So look out for the rate sheet, 12:15 p.m.,

  23           you know, a couple minutes from now.              It's going

  24           to be out there.        It's live.      Get ready.      Our

  25           competitors will follow us.           Now, whether you


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 10 of 21 PageID 995
                                                                                   9


   1            work with us or not, everyone's getting the

   2            advantage.

   3                    If you're a broker, you know who you just

   4            lost?     Retail.    The retail losses, they're

   5            struggling.      They're going to struggle, because

   6            we just widened the gap, service, technology,

   7            pricing, it's all there with UWM.             Let's dominate

   8            together.

   9                    We're all in.     We're going to continue to

  10            talk about findamortgagebroker.com.             We're going

  11            to continue to help you grow.            We're all in for

  12            brokers.     Faster, easier, cheaper.          Educate

  13            realtors.     Help everyone win.         We want to

  14            continue to help        you have a significant

  15            advantage over the retail channel.             So our

  16            pricing's sharp.        Look at it.      It's going to be

  17            great.

  18                    Now, I have another big announcement before

  19            we go, because I got a couple big things.                You

  20            know, there's three big things.            One is jumbo,

  21            prime jumbo is huge.         It's going to be great.

  22            But pricing's game over.          Right?    Let's do this.

  23            Let's take it to another level.            We're excited

  24            about it.     Hoping you are, too.

  25                    Take a look at it.       Everyone is going to be


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 11 of 21 PageID 996
                                                                                10


   1            excited.     We're going to take loans.           We're

   2            dominate for you.        Help you.     Now, there's no

   3            float downs, just to be clear.            You can't float

   4            down loans, you can't switch.            It's renew locks,

   5            you know, that's what the new pricing's for.                   But

   6            we're going to grow together as a team, as a

   7            family.     And so we're very excited about this.

   8                  Now, before we get to the last point, and I'm

   9            talking about you growing, you succeeding, before

  10            I get to the last point, pricing's great.                 We

  11            talked about success track is coming back.

  12            Training, coaching, helping you get better.

  13                  I want to just point out a couple of things.

  14            We've been doing it virtually, but back in May

  15            and June, coming up in May and June, we're going

  16            back out here.       You're welcome to come back out.

  17            We have hundreds of people here a week.

  18            Obviously, we will do the social distance, make

  19            sure everyone's feeling comfortable and safe.

  20            But we're getting ready to go.            We're going to

  21            dominate together.

  22                  So on top of that we added a partner services

  23            team, so you guys know.          It's brokers are trying

  24            to do a lot of retail branch services or whatever

  25            they call it.       We have partner services.          You


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                                                                                11


   1            need help recruiting new LOs?            We got you.      You

   2            need help with licensing?          We got you.      You need

   3            any help with culture, training, we got it.

   4            Marketing and branding, you need help with your

   5            website, we got it.        Technology.       We are trying

   6            to make the brokers invincible.            Our technology,

   7            your team, our services, we're going to win

   8            together.

   9                    Now, the last thing I want to talk about

  10            before we go, and this is a big one, it's

  11            important, because, listen, big goals, big goals,

  12            big responsibilities on all of us.             Thirty-three

  13            percent mortgage broker channel by 2025.               We're

  14            going to get there as a family.            What's going to

  15            stop us?     Nothing's stopping us.          We're getting

  16            there.     We're getting there together so you guys

  17            know.

  18                    Now, what can slow us down?         One thing is if

  19            the loan officers don't come to the broker

  20            channel or even leave the broker channel and go

  21            to the retail channel.         That would hurt us.         That

  22            would hurt you and that would hurt all of us

  23            together.

  24                    Or let's think about it, purchases where we

  25            all dominate.       What if real estate just stopped


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 13 of 21 PageID 998
                                                                                12


   1            referring business to brokers?            What if they try

   2            to cut the loan officers and the brokers out?

   3            Right?     Or if a consumer came to a broker and

   4            then left and never came back.            Never referred

   5            people to you.       Bad experience with a broker.

   6            You know, what can we do?          Those things would

   7            hurt us.

   8                  Well, let me talk about something.              There's

   9            two companies out there that are hurting the

  10            wholesale channel.        Right?     At UWM we only grow

  11            if you grow.      I've got no chance.         I got 8500

  12            plus people here.        We win when you win and all of

  13            us win together.

  14                  But there's two companies out there hurting

  15            the wholesale channel.         Specifically, Fairway

  16            Independent.      They have a wholesale company

  17            called Fairway Independent Wholesale.              They're

  18            out there soliciting loan officers and talking

  19            negatively about brokers right now.              They're

  20            calling, trying to steal your loan officers, they

  21            are soliciting them,         they are aggressive and

  22            they're not doing right by the broker channels.

  23                  But some of our brokers are still referring

  24            them loans, sending them loans.            That's not good.

  25            Loan officers, we don't want them leaving.                 We


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 14 of 21 PageID 999
                                                                                13


   1            want them coming to us, not leaving.              Fairway

   2            Independent is out there trying to hurt the

   3            wholesale channel.

   4                    The other company is Rocket Mortgage.

   5            They're going after real estate agents.               They're

   6            trying to cut the loan officer out.              They're

   7            paying real estate agents to get licensed and

   8            then paying them 50 basis points.             I don't know

   9            what this is.       It's not my job to figure that

  10            out.     Paying them 50 base point and cut the loss,

  11            just refer them right to Rocket's partnership

  12            team.     Cut the brokers out.        Cut the loan

  13            officers out.       That's not good.       That's not good

  14            for us.     That's not what we want.

  15                    The same thing with -- you know, we all know

  16            Rocket Mortgage solicits your past clients and

  17            solicits the -- they're -- once again, these are

  18            their business models.         Fairway Independent and

  19            Rocket Mortgage, whatever they want to do they

  20            can do.     And as long as they play by the rules,

  21            it's their rules, their world.

  22                    But that's not my business model.           My

  23            business model is helping you win.             Helping the

  24            family grow.      Being all in for brokers.           And I

  25            can't stop other people's business models.                 But


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 15 of 21 PageID 1000
                                                                                14


    1           what I can do, I can control my business model.

    2                  So I'm starting today and saying at UWM,

    3           we're not helping those that help them.               If you

    4           work and send loans and send business to Fairway

    5           Independent or Rocket Mortgage, which, by the

    6           way, is about 25 percent of the broker channel

    7           works with either of those lenders.              So 35

    8           percent you can just ignore this whole point.

    9           But I wanted to point out, 25 percent work with

   10           those lenders.       If you work with them, you can't

   11           work with UWM anymore effective immediately.

   12                  So you can't work with UWM if you work with

   13           those guys.      Because, you know what, I can't stop

   14           you, but I'm not going to help you help the

   15           people that are hurting the broker channel.

   16                  And that's what's going on right now.              We

   17           don't need a fund, Fairway Independent or Rocket

   18           Mortgage, to try to put brokers out of business.

   19           We don't need to do that.           If you want to do

   20           that, it's your own deal.           No hard feelings.

   21           But at UWM, you can't work with UWM anymore.

   22                  So you have until -- so, owners, you have

   23           until March 15th to sign an addendum saying

   24           you're not working with those two lenders.

   25           There's other lenders, by the way.             There's 75


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 16 of 21 PageID 1001
                                                                                15


    1           great lenders.       Those lenders, I don't agree with

    2           their business practices, but these two are going

    3           after the broker channel and so we're not helping

    4           them anymore.

    5                  You have until March 15th to sign the

    6           addendum.      And if you don't sign the addendum,

    7           but, hey I'm not working with them, that's no

    8           problem.     Then you and nobody in your company

    9           will be able to work with UWM anymore.

   10                  And that's okay.       There's no hard feelings.

   11           Right?     I don't have a problem.         You can either

   12           accept the addendum, you can decline the

   13           addendum, in which case you can say I don't want

   14           to work with UWM, or you can accept it and say I

   15           have some loans to close out, because we don't

   16           want you to not close out the loans.              Close out

   17           your loans.      Take care of consumers.

   18                  Even if you were to decline the addendum and

   19           the loans you have with UWM, we're not going to

   20           hurt the consumer.        We'll close every one of

   21           those loans with you.         We're here to help and do

   22           the right thing.

   23                  But, going forward, I'm not supporting

   24           brokers with our technology, with our service,

   25           with our passion for the broker channel, with our


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 17 of 21 PageID 1002
                                                                                16


    1           recruiting, with all the things that are going to

    2           hurt the rest of the broker channel by funding

    3           the competition of brokers, the competition of

    4           the wholesale channel.

    5                  So here's the question.         Are you all in?        Are

    6           you out?     Are you in or are you out?           If you're

    7           in, like I said, most of you guys don't worry.

    8           This is what I think.         There's 75 great lenders

    9           out there.      You need to have options.          But

   10           there's two that are out there hurting the

   11           channel.

   12                  And so what we think about is this.               You can

   13           pick us and the 73 other lenders or you can pick

   14           those others and not have you.            But, either way.

   15           Well, one of them has great pricing.              Well,

   16           Provident has the best pricing.            All right.

   17           There's nothing that those two lenders do for

   18           brokers that the other 73 lenders don't do.                 And

   19           so today we're taking a stand.            We're saying

   20           we're all in.

   21                  Now, what's the response?          I mean, this is

   22           great for the whole broker channel, to be honest

   23           with you, because I love brokers either way.

   24           Even if you don't pick us, I still love you,

   25           because I'm supportive of the channel and excited


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 18 of 21 PageID 1003
                                                                                17


    1           for the channel's growth.

    2                  But, here's the reality.          Today, after our

    3           rate sheet, or maybe tomorrow, Rocket Mortgage

    4           and Fairway Independent, you know what they're

    5           going to do?       Sharpen the price to another 100

    6           basis points.       Make it so that if they -- they

    7           just lost 80 percent of their business

    8           potentially.       Right?    Because the only thing 80

    9           to 90 percent of brokers are going to say, hey,

   10           we're sticking with UWM and the other 73 lenders

   11           that are out there trying to help us grow, not

   12           with the people that are trying to put us out of

   13           business.

   14                  So for the ten percent that stay with them,

   15           hey, they're going to get some great pricing.

   16           And then as soon as they know you're gone, UWM is

   17           out of it, they'll probably back off the pricing

   18           and change it.       But, hey, that's your decision.

   19                  That's what they're going to do.            They're

   20           going to sharpen pricing.           You want great

   21           pricing, there's a lot of great -- well, our

   22           pricing is really sharp today and it's going to

   23           be really sharp going forward.            But, like I said,

   24           these guys just lost 70, 80, 90 percent of their

   25           business, they're going to make some massive


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 19 of 21 PageID 1004
                                                                                18


    1           changes right away.

    2                  And so I know that.        You know that.       But who

    3           you are all in with?         Are you all in with the

    4           brokers or are you all in with the people trying

    5           to put brokers out of business?            So today, I'm

    6           all in with you.        I'm all in with the brokers and

    7           I'm going to always be all in.            That's what we're

    8           doing.

    9                  Our pricing, extremely sharp today.             It's

   10           going to be consistently sharp.            We're going to

   11           help you win more loans.          We're going to help you

   12           grow in the purchase market.           We're not going to

   13           hurt you on the realtors; we're going to help you

   14           with the realtors.

   15                  We're not going to, you know, sever loan

   16           officers, we're going to help you get more loan

   17           officers.      We're going to help you with your

   18           consumers.      Our Plan 360, out new technology.

   19           We've got some big tech stuff coming out.               We're

   20           going to continue to invest, not hundreds of

   21           millions, billions of dollars in the broker

   22           channel and technology behind it.             That's how we

   23           got here and that's how we're all going to get

   24           there together.

   25                  So take a look at our amazing pricing. It's


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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 20 of 21 PageID 1005
                                                                                19


    1           out.     Jumbo is coming soon.        And then the

    2           question is, you all in?          You all in with the

    3           broker channel?        Because I'm all in.        We're all

    4           in together as a family.

    5                  Thanks for joining me.         If you have any

    6           questions, you can reach out to us.              We're

    7           excited.     Hashtag all in.        I know a lot of people

    8           are thinking right now that's how we're going to

    9           do it.     I'm all in.      You're all in.       Let's

   10           dominate.

   11                  We're going to grow the broker channel.

   12           We're going to grow every single loan officer.

   13           Watch us.      We're going to win together.           I'm

   14           excited to do it with you as a family.               Have a

   15           great day.

   16                  (End of Facebook Live video.)

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Case 3:21-cv-00448-BJD-LLL Document 73-2 Filed 12/14/22 Page 21 of 21 PageID 1006
                                                                                20


    1                    CERTIFICATE OF REPORTER

    2

    3                  I, MARY ANN COLLIER, Court Reporter, do

    4      hereby certify that I was authorized to and did

    5      stenographically transcribe the Facebook Live video,

    6      and that the transcript is a true and complete record

    7      of my stenographic notes of said Facebook Live video.

    8

    9              DATED this 16th day of June 2021.

   10

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   12
                         MARY ANN COLLIER
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